Case 19-02027           Doc 104   Filed 03/01/22     Entered 03/01/22 22:52:19         Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT
                                  HARTFORD DIVISION


 IN RE:                                               )       CHAPTER 7
                                                      )
                                                      )       CASE NO. 17-21513 (JJT)
 INTEGRITY GRAPHICS, INC.,                            )
                                                      )
                   DEBTOR.                            )
                                                      )
 BONNIE C. MANGAN, Chapter 7 Trustee for              )
 INTEGRITY GRAPHICS, INC.,                            )
                                                      )
          Plaintiff,                                  )       Adv. Pro. No. 19-02027
                                                      )
              v.                                      )
                                                      )
 PEOPLE’S UNITED BANK, N.A.,                          )
 GHP MEDIA INC. AND JOSEPH LAVALLA,                   )
                                                      )
          Defendants.                                 )


                             MOTION FOR EXTENSION OF TIME

       Bonnie C. Mangan, Chapter 7 Trustee for Integrity Graphics, Inc. (the “Trustee”), hereby

moves for a sixty (60) day extension of the remaining dates set forth in the Court’s Initial Pretrial

Order, including the date by which the Trustee must serve opposing counsel with reports from

her expert witnesses. In support thereof, the undersigned represents as follows:

       1. On July 19, 2021, this Court entered an Initial Pretrial Order in this adversary

            proceeding [Doc. #101].

       2. The Initial Pretrial Order provided that: “Any party that intends to call an expert at

            trial in connection with any claim or defense for which that party has the burden of

            proof shall serve opposing counsel with reports from retained experts pursuant to Fed

            R. Civ. P. 26(a)(2) by March 1, 2022.”
Case 19-02027        Doc 104     Filed 03/01/22      Entered 03/01/22 22:52:19         Page 2 of 3




       3. On February 14, 2022, the Trustee filed the following two applications with the Court

           seeking to employ expert witnesses (the “Applications to Employ”):

               a. Application to Employ Empire Valuation Consultants, LLC as Expert Witness

                   and Consultant [Doc. # 87 in Case No. 17-21513); and

               b. Application to Employ T.B. Harski & Associates, LLC as Expert Witness and

                   Consultant [Doc. # 88 in Case No. 17-21513].

       4. On February 16, 2022, the Court scheduled a hearing on the Applications to Employ,

           which hearing is to be held on March 3, 2022 [Doc. # 89 in Case No. 17-21513].

       5. The Trustee cannot retain the expert witnesses or cause them to prepare reports until

           the Court approves the Trustee’s retention of the experts.

       6. Additionally, the Trustee has not received any document production from the

           Defendants in response to the Trustee’s discovery requests, which documents will

           need to be reviewed by the Trustee’s experts. Counsel are meeting and confering on

           these discovery matters in an effort to avoid any discovery related motions.

       For the foregoing reasons, the Trustee respectfully requests a sixty (60) day extension of

the remaining dates set forth in the Court’s Initial Pretrial Order, including the date by which the

Trustee must serve opposing counsel with reports from her expert witnesses.

       Dated at Trumbull, Connecticut on this 1st day of March, 2022.

                                                      BONNIE C. MANGAN,
                                                      CHAPTER 7 TRUSTEE OF
                                                      INTEGRITY GRAPHICS, INC.

                                                  By: /s/ David C. Shufrin
                                                      David C. Shufrin, Esq. [ct29230]
                                                      SHUFRIN LAW GROUP
                                                      21 Frelma Drive
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Case 19-02027        Doc 104     Filed 03/01/22      Entered 03/01/22 22:52:19         Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the foregoing was served by

CMECF and/or mail on anyone unable to accept electronic filing. Notice of this filing will be

sent by email to all parties by operation of the Court’s electronic filing system or by mail to

anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF System.

Date: March 1, 2022

                                              ___/s/ David C. Shufrin_________________
                                              David C. Shufrin




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